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                                             UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF IDAHO

               EDWARD WATTERS, DEAN
               GUNDERSON, STEVEN
               FARNWORTH, MATTHEW
               ALEXANDER NEWIRTH, individuals,                                   Case No. 1:12-cv-0076-REB
               and OCCUPY BOISE, an Idaho
               unincorporated non-profit,                               DECLARATION OF HANNAH
                                                                        TUCKER IN SUPPORT OF MOTION
                          Plaintiffs,                                   FOR TEMPORARY RESTRAINING
                                                                        ORDER, PRELMINARY
                                          v.                            INJUNCTION, FURTHER RELIEF,
                                                                        ORDER TO SHOW CAUSE, AND
               BRADLEY JAY LITTLE, in his official                      CONTEMPT
               capacity as the Governor of the State of
               Idaho, STEVEN BAILEY, in his official
               capacity as the Director of the Idaho
               Department of Administration, and COL.
               KEDRICK R. WILLS, in his official
               capacity as the Director of the Idaho State
               Police,

                          Defendants. 1




                     1
                         Defendants in this action automatically substituted pursuant to F.R.C.P. 25(d).


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                 1. I am involved with the Peoples’ University, which has been organized on an

                     ongoing basis at the site of the Capitol Annex in Boise, Idaho since May 3, 2024.

                 2. Before we established the Peoples’ University on the grounds of the Capitol

                     Annex, I and other people in our group have attempted to reach legislatures to

                     communicate our message. We have demanded in-person meetings, have

                     organized letter and postcard campaigns, have conducted shorter demonstrations

                     in the form of marches and rallies, and organized phone banking to try and reach

                     policymakers. None of those efforts have been successful and we have received no

                     response from policymakers to date.

                 3. The Peoples’ University established following a rally and march on May 3, 2024,

                     from the Anne Frank Memorial through the streets of downtown Boise and

                     established that evening on the grounds of the Capitol Annex. The primary motive

                     of the group is to raise awareness about the ongoing destabilization and

                     displacement faced by the people of Palestine as a result of military intervention,

                     and to demand that the Idaho Legislature name and acknowledge that the ongoing

                     violence is a genocide being perpetuated with funds and support from the United

                     States of America.

                 4. On May 3, 2024, we erected tents on the site of the Capitol Annex for the purpose

                     of making symbolically visible the violence, displacement, and houselessness

                     faced by the people of Palestine. Those tents are crucial to our demonstration and

                     the core-message of our group because they are intended to make visible the

                     situation faced by the people of Palestine, where thousands of families have been




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                     forced to relocate to tent cities because their homes have been destroyed by the

                     violence there.

                 5. Since May 3, 2024, we have done our best to maintain a 24-hour, 7-day a week

                     vigil in solidarity with the people of Palestine and to highlight to individuals and

                     policymakers in Boise, Idaho the ongoing consequences of the genocide.

                     Maintaining a constant, overnight vigil is also crucial to our message because the

                     people of Palestine are unable to take down their tents and go home to sleep for

                     the night: they are forced to live in those conditions constantly. If we are unable to

                     maintain our vigil and are required to take down our tents and go home for the

                     night, then we would not be able to effectively communicate and make visible the

                     ongoing nature of the violence in Palestine.

                 6. We understand that, during our 24-hour vigil, individuals are not allowed to sleep

                     at the site of the Capitol Annex or on State grounds. We have had several

                     conversations as a group about the importance of not sleeping on the grounds, and

                     to my knowledge nobody involved with the vigil has slept on the grounds of the

                     Capitol Annex or Capitol Mall at all. In order to comply with the applicable Idaho

                     Law, we have maintained a rotating shift of individuals to continuously staff the

                     demonstration in 4-to-8-hour shifts. No individual associated with the vigil has

                     been able to remain on site for its entire duration because we need to go home to

                     sleep in order to comply with Idaho law.

                 7. In addition to symbolic purposes, the presence of tents and other temporary

                     structures have been important to our right to assembly. We have used common




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                     spaces under temporary structures to engage in continuing education about

                     Palestine and the violence occurring there. On nights that it has rained, we would

                     have been unable to continue our 24-hour vigil without a space to assemble out of

                     the elements.

                 8. When we established the vigil site on May 3, 2024, approximately 30 law

                     enforcement officers with the Boise Police Department and Idaho State Police

                     were present at the site of the Capitol Annex. Boise Police Department officers

                     instructed us that we must vacate the grounds of the Capitol Annex before dark

                     on the basis that we were in a “city park,” and that it is illegal to be in a city park

                     after dark. It is my understanding that the grounds of the Capitol Annex are not a

                     city park.

                 9. The next morning, on Saturday, May 4, 2024, I was present when Idaho State

                     Police department officers returned to the site of the vigil and seized all of the

                     tents that were present there, in addition to a bucket of water bottles and sanitary

                     products such as tampons necessary to sustain the protest. I did not witness

                     anybody sleeping on the site on May 3, 2024, and I do not believe that anybody

                     did because we discussed the importance of not sleeping there.

                 10. On the evening of Tuesday, May 7, 2024, to comply with the request of the Idaho

                     State Police to allow for maintenance of the grass at the Capitol Annex, we

                     relocated our vigil to the west side of the apron of the steps of the Idaho State

                     Capitol. In doing so, we took care to ensure that the tents themselves were flush

                     with the west pillar to leave ample space for the pedestrian walkway on the west




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                     side of the steps. We also took care to ensure that the majority of the access to the

                     steps themselves would remain accessible so that individuals would be readily

                     able to enter or exit the building. Idaho State Police arrived on the scene and

                     threatened to issue citations, stating that it was illegal to erect temporary

                     structures in that location. No citations were issued.

                 11. At approximately 6:30 PM on Wednesday, May 8, 2024, we moved the site of the

                     vigil to the east side of the apron of the Idaho State Capitol to allow maintenance

                     of the grass of the Capitol Annex. As we were in the process of moving, we were

                     greeted by approximately 30 Idaho State Police officers who informed us that we

                     would not be permitted to erect temporary structures on the apron because they

                     would block entrances and exits to the building. Again, we took careful steps to

                     ensure that our symbolic and assembly tents were set up in such a way to permit

                     ample space to enter and exit the building. We ensured that the tents were flush

                     with the west side of the pillar marking the end of the steps used to exit the

                     building. We were in the process of consolidating the materials used in the protest

                     to ensure ample access to the pedestrian walkway to the east of the steps when

                     Idaho State Police ordered us to step away and seized all of the property on the

                     steps. That, of course, included the symbolic assembly tents themselves, but also

                     included food, water, education materials, signs, and numerous other items. Idaho

                     State Police did not, and still has not, provided us with an inventory list of the

                     items they seized.




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                 12. In the course of the enforcement action on May 8, 2024, I was standing on the

                     outskirts of the vigil while Idaho State Police violently seized the items there, and

                     held up my phone with video of what was happening in Palestine. While standing

                     on the apron and out of the vicinity of the sweep, an Idaho State Police officer

                     shoved me down the stairs.

                 13. We later moved our vigil back to the grass of the Capitol Annex because we could

                     no longer comprehend where Idaho State Police would permit us to continue our

                     24-hour vigil using symbolic assembly tents or what guidelines that they wanted

                     us to follow.

                 14. On Thursday, May 9, 2024, I was again present at approximately 11:30 PM when

                     Idaho State Police and Boise Police Department officers returned to the site of the

                     vigil at the grass of the Capitol Annex. While we were assembled on the grass,

                     approximately a dozen police cars drove east down Jefferson street and stopped

                     near the vigil. Approximately 30 to 40 law enforcement immediately stormed the

                     grass, ordering everyone to get off of it, and again seized all of the property on the

                     grass, including the symbolic assembly tents, signs, water, food, sanitary products,

                     and other items necessary to sustain the 24-hour vigil. We tried to relocate the

                     site of the vigil to the concrete memorial located in the center of the grass of the

                     Capitol Annex, but were again informed that we would not be permitted continue

                     our vigil using symbolic and assembly tents there, either. Law enforcement again

                     did not provide us with an inventory list of the items seized, and still has not.




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                 15. On Friday, May 10, 2024, we again set up our vigil on the grass of the Capitol

                     Annex, having received no instruction from Idaho State Police regarding a place

                     where we would be able to continue our vigil utilizing symbolic and assembly

                     tents overnight. Again, at approximately 11:00 PM, law enforcement returned to

                     the site, ordered everybody to get off the grass, and again seized all of the items on

                     the grass, and again did not and still have not provided us with an inventory list

                     of the items seized.

                 16. In the course of the enforcement action on May 10, 2024, I was walking to the

                     sidewalk after Idaho State Police ordered us to get off the grass. I stopped briefly

                     to pick up a painting that a friend of mine had produced to ensure that it was not

                     taken or damaged. In the course of doing that, Idaho State Police approached and

                     arrested me. They took me into the Capitol Annex building briefly before

                     transporting me to the Ada County Jail. I informed the officers that I was

                     invoking my right to remain silent and would not answer any questions.

                 17. At the Ada County Jail, law enforcement began to inventory my bag. The officer

                     who drove me into the station asked me if my legal identification was in my bag,

                     as he was already digging through it. I was silent for a moment, thinking my ID

                     had been easily found in the main pocket. However, after this officer had

                     supposedly not found it, I was brought into a holding cell by that officer along

                     with 2 other jail staff. The three of them held me against a wall and told me that I

                     would remain in this particular holding cell until I divulged information about my

                     ID. I then promptly told them exactly where in my bag my ID was. At this point,




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                     the jail staff proceeded to forcefully remove my shirt, socks and piercings from my

                     face and ears. This was upsetting to me and the femme presenting guard then

                     reminded me, “this is jail.” She told me that I was not complying with the booking

                     process and that I would remain in the holding cell until I was ready to give them

                     the information that they needed. After about an hour of waiting in the holding

                     cell, and despite explicitly communicating that I was ready to comply with said

                     booking procedure, I was left to sit in that cell for an additional 1.5-2hrs having

                     been told by another femme presenting staff member that “things have gotten too

                     busy” for staff to proceed with my booking. At least once during this entire

                     process, from arrest to booking, I believe I asked to speak to my attorney which I

                     was not permitted to do. Eventually, I was brought out of the holding cell, booked,

                     and finally allowed to make my phone calls. I was then able to quickly post bail

                     and it was in that waiting period, between my bail being posted and being able to

                     leave, that I finally received information from the jail staff that my attorney had

                     tried to reach me.

                 18. I will testify in person and under oath about these facts before this Court if I am

                     called as a witness.




                     Pursuant to 28 USC § 1746, I declare under penalty of perjury that the foregoing is

             true and correct.
                                               5/13/2024
                              EXECUTED:                         .




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                                                       __________________________________
                                                       Hannah Tucker




                                                       WREST COLLECTIVE

                 DATED: May 14, 2024                   By:   /s/ Casey Parsons
                                                       Casey Parsons
                                                       Attorneys for Plaintiff Matthew Alexander Newirth




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